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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            )   Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            )   Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                )   (Joint Administration Requested)
                                                                      )
                                                                      )   Re: Docket No. __

               FINAL ORDER APPROVING NOTIFICATION AND
           HEARING PROCEDURES FOR CERTAIN TRANSFERS OF AND
     DECLARATIONS OF WORTHLESSNESS WITH RESPECT TO COMMON STOCK


             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of a final order (this ”Final Order”) (a) approving the

Procedures related to transfers of Beneficial Ownership of and declarations of worthlessness with

respect to Common Stock, (b) directing that any purchase, sale, other transfer of, or declaration of

worthlessness with respect to, Common Stock in violation of the Procedures shall be null and void

ab initio, and (c) granting related relief, all as more fully set forth in the Motion; and upon the First

Day Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and this Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and

this Court having found that it may enter a final order consistent with Article III of the United

States Constitution; and this Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.
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the relief requested in the Motion is in the best interests of the Debtors’ estates, their creditors, and

other parties in interest; and this Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate and no other notice need be provided;

and this Court having reviewed the Motion and having heard the statements in support of the relief

requested therein at a hearing before this Court (the “Hearing”); and this Court having determined

that the legal and factual bases set forth in the Motion and at the Hearing establish just cause for

the relief granted herein; and upon all of the proceedings had before this Court; and after due

deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

        1.      Any transfer of or declaration of worthlessness with respect to Beneficial

Ownership of Common Stock in violation of the Procedures, including but not limited to the notice

requirements, shall be null and void ab initio.

        2.      In the case of any such transfer of Beneficial Ownership of Common Stock in

violation of the Procedures, including but not limited to the notice requirements, the person or

entity making such transfer shall be required to take remedial actions specified by the Debtors,

which may include the actions specified in Private Letter Ruling 201010009 (Dec. 4, 2009), to

appropriately reflect that such transfer is null and void ab initio.

        3.      In the case of any such declaration of worthlessness with respect to Beneficial

Ownership of Common Stock in violation of the Procedures, including the notice requirements,

the person or entity making such declaration shall be required to file an amended tax return

revoking such declaration and any related deduction to appropriately reflect that such declaration

is void ab initio.

        4.      The Debtors may retroactively or prospectively waive any and all restrictions, stays,

and notification procedures set forth in the Procedures.




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        5.        To the extent that this Final Order is inconsistent with any prior order or pleading

with respect to the Motion in these chapter 11 cases, the terms of this Final Order shall govern.

        6.        Nothing herein shall preclude any person desirous of acquiring Common Stock

from requesting relief from this Final Order from this Court, subject to the Debtors’ rights to

oppose such relief.

        7.        The requirements set forth in this Final Order are in addition to the requirements of

applicable law and do not excuse compliance therewith.

        8.        Notwithstanding the relief granted in this Final Order and any actions taken

pursuant to such relief, nothing in this Final Order shall be deemed: (a) an admission as to the

amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy Code

or other applicable nonbankruptcy law; (b) a waiver of the Debtors’ or any other party in interest’s

right to dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an

implication or admission that any particular claim is of a type specified or defined in the Motion

or this Final Order or a finding that any particular claim is an administrative expense claim or other

priority claim; (e) a request or authorization to assume, adopt, or reject any agreement, contract,

or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity,

priority, enforceability, or perfection of any lien on, security interest in, or other encumbrance on

property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’ or any other party in

interest’s rights under the Bankruptcy Code or any other applicable law; or (h) a concession by the

Debtors that any liens (contractual, common law, statutory, or otherwise) that may be satisfied

pursuant to the relief requested authorized in this Final Order are valid, and the rights of all parties

in interest are expressly reserved to contest the extent, validity, or perfection or seek avoidance of

all such liens.




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       9.      Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a) and the

Bankruptcy Local Rules are satisfied by such notice.

       10.     Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Final

Order are immediately effective and enforceable upon its entry.

       11.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Final Order in accordance with the Motion.

       12.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Final Order.

 Dated: ___________, 2021
 Houston, Texas                                      UNITED STATES BANKRUPTCY JUDGE




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                              EXHIBIT 1

       Procedures for Transfers of and Declarations of Worthlessness
 with Respect to Beneficial Ownership of Common Stock or Preferred Stock
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PROCEDURES FOR TRANSFERS OF AND DECLARATIONS OF WORTHLESSNESS
      WITH RESPECT TO COMMON STOCK OR PREFERRED STOCK

The following procedures apply to transfers of Common Stock or Preferred Stock:1

                     a. Any entity (as defined in section 101(15) of the Bankruptcy Code) that is a
                        Substantial Shareholder (as defined herein) must file with the Court, and
                        serve upon: (i) the Debtors, Katerra Inc., 2494 Sand Hill Road, Building 7,
                        Suite 100, Menlo Park, California, 94025, Attn: Marc Liebman;
                        (ii) proposed co-counsel to the Debtors, (a) Kirkland & Ellis LLP, 601
                        Lexington Avenue, New York, New York 10022, Attn: Joshua A. Sussberg,
                        P.C., and Christine A. Okike P.C., and Kirkland & Ellis LLP, 300 North
                        LaSalle Street, Chicago, Illinois 60654, Attn: Dan Latona, and (b) Jackson
                        Walker LLP, 1401 McKinney Street, Suite 1900, Houston, Texas 77010,
                        Attn: Matthew D. Cavenaugh, Jennifer F. Wertz, and J. Machir Stull
                        (iii) counsel to any statutory committee appointed in these cases; (iv) the
                        U.S. Trustee for the Southern District of Texas, 515 Rusk Street, Suite 3516,
                        Houston, Texas 77002; and (v) to the extent not listed herein, those parties
                        requesting notice pursuant to Bankruptcy Rule 2002 (collectively, the
                        “Notice Parties”), a declaration of such status, substantially in the form
                        attached to the Procedures as Exhibit 1A (each, a “Declaration of Status as
                        a Substantial Shareholder”), on or before the later of (A) twenty calendar
                        days after the date of the Notice of Interim Order, or (B) ten calendar days
                        after becoming a Substantial Shareholder; provided, however, that direct
                        holders of Common Stock and Preferred Stock shall not be required to file
                        the Declaration of Status as a Substantial Shareholder; provided, further,
                        that, for the avoidance of doubt, the other procedures set forth herein shall
                        apply to any Substantial Shareholder even if no Declaration of Status as a
                        Substantial Shareholder has been filed.

                b.      Prior to effectuating any transfer of Beneficial Ownership of Common Stock
                        or Preferred Stock that would result in an increase in the amount of Common
                        Stock or Preferred Stock of which a Substantial Shareholder has Beneficial
                        Ownership or would result in an entity or individual becoming a Substantial
                        Shareholder, the parties to such transaction must file with the Court, and
                        serve upon the Notice Parties, an advance written declaration of the intended
                        transfer of Common Stock or Preferred Stock, as applicable, substantially in
                        the form attached to the Procedures as Exhibit 1B (each, a “Declaration of
                        Intent to Accumulate Common Stock or Preferred Stock”).

                c.      Prior to effectuating any transfer of Beneficial Ownership of Common Stock
                        or Preferred Stock that would result in a decrease in the amount of Common
                        Stock or Preferred Stock of which a Substantial Shareholder has Beneficial
                        Ownership or would result in an entity or individual ceasing to be a

1
    Capitalized terms used but not otherwise defined herein have the meanings given to them in the Motion.
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           Substantial Shareholder, the parties to such transaction must file with the
           Court, and serve upon the Notice Parties, an advance written declaration of
           the intended transfer of Common Stock or Preferred Stock, as applicable,
           substantially in the form attached to the Procedures as Exhibit 1C (each,
           a “Declaration of Intent to Transfer Common Stock or Preferred Stock,” and
           together with a Declaration of Intent to Accumulate Common Stock or
           Preferred Stock, each, a “Declaration of Proposed Transfer”).

     d.    The Debtors shall have twenty calendar days after receipt of a Declaration
           of Proposed Transfer to file with the Court and serve on such Substantial
           Shareholder or potential Substantial Shareholder an objection to any
           proposed transfer of Beneficial Ownership of Common Stock or Preferred
           Stock, as applicable, described in the Declaration of Proposed Transfer on
           the grounds that such transfer might adversely affect the Debtors’ ability to
           utilize their Tax Attributes. If the Debtors file an objection, such transaction
           will remain ineffective unless such objection is withdrawn by the Debtors,
           or such transaction is approved by a final and non-appealable order of the
           Court. If the Debtors do not object within such twenty-day period, such
           transaction can proceed solely as set forth in the Declaration of Proposed
           Transfer. Further transactions within the scope of this paragraph must be the
           subject of additional notices in accordance with the procedures set forth
           herein, with an additional twenty-day waiting period for each Declaration of
           Proposed Transfer. To the extent that the Debtors receive an appropriate
           Declaration of Proposed Transfer and determine in their business judgment
           not to object, they shall provide notice of that decision as soon as is
           reasonably practicable to any statutory committee(s) appointed in these
           chapter 11 cases.

     e.    For purposes of these Procedures (including, for the avoidance of doubt, with
           respect to both transfers and declarations of worthlessness): (i) a
           “Substantial Shareholder” is any entity or individual person that has
           Beneficial Ownership of at least: (A) 675 shares of Common Stock
           (representing approximately 4.5 percent of all issued and outstanding shares
           of Common Stock); or (B) 4.5 percent of any individual class (or series) of
           Preferred Stock, and (ii) “Beneficial Ownership” will be determined in
           accordance with the applicable rules of section 382 of the IRC, and the
           Treasury Regulations promulgated thereunder (other than Treasury
           Regulations section 1.382-2T(h)(2)(i)(A)) and includes direct, indirect, and
           constructive ownership (e.g., (1) a holding company would be considered to
           beneficially own all equity securities owned by its subsidiaries, (2) a partner
           in a partnership would be considered to beneficially own its proportionate
           share of any equity securities owned by such partnership, (3) an individual
           and such individual’s family members may be treated as one individual, (4)
           persons and entities acting in concert to make a coordinated acquisition of
           equity securities may be treated as a single entity, and (5) a holder would be
           considered to beneficially own equity securities that such holder has an
           Option (as defined herein) to acquire). An “Option” to acquire stock


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                         includes all interests described in Treasury Regulations section 1.382-
                         4(d)(9), including any contingent purchase right, warrant, convertible debt,
                         put, call, stock subject to risk of forfeiture, contract to acquire stock, or
                         similar interest, regardless of whether it is contingent or otherwise not
                         currently exercisable.

The following procedures apply for declarations of worthlessness of Common Stock or Preferred
Stock:

                a.       Any person or entity that currently is or becomes a 50-Percent Shareholder2
                         must file with the Court and serve upon the Notice Parties a declaration of
                         such status, substantially in the form attached to the Procedures as
                         Exhibit 1D (each, a “Declaration of Status as a 50-Percent Shareholder”),
                         on or before the later of (i) twenty calendar days after the date of the Notice
                         of Interim Order and (ii) ten calendar days after becoming a 50-Percent
                         Shareholder; provided, however, that holders of Common Stock and
                         Preferred Stock shall not be required to file the Declaration of Status as a 50-
                         Percent Shareholder; provided, further, that, for the avoidance of doubt, the
                         other procedures set forth herein shall apply to any 50-Percent Shareholder
                         even if no Declaration of Status as a 50-Percent Shareholder has been filed.

                b.       Prior to filing any federal or state tax return, or any amendment to such a
                         return, or taking any other action that claims any deduction for worthlessness
                         of Beneficial Ownership of Common Stock or Preferred Stock for a taxable
                         year ending before the Debtors’ emergence from chapter 11 protection, such
                         50-Percent Shareholder must file with the Court and serve upon the Notice
                         Parties a declaration of intent to claim a worthless stock deduction
                         (a “Declaration of Intent to Claim a Worthless Stock Deduction”),
                         substantially in the form attached to the Procedures as Exhibit 1E.

                               i. The Debtors shall have twenty calendar days after receipt of a
                                  Declaration of Intent to Claim a Worthless Stock Deduction to file
                                  with the Court and serve on such 50-Percent Shareholder an
                                  objection to any proposed claim of worthlessness described in the
                                  Declaration of Intent to Claim a Worthless Stock Deduction on the
                                  grounds that such claim might adversely affect the Debtors’ ability
                                  to utilize their Tax Attributes.

                              ii. If the Debtors timely object, the filing of the tax return or
                                  amendment thereto with such claim will not be permitted unless


2
    For purposes of the Procedures, a “50-Percent Shareholder” is any person or entity that at any time since
    December 31, 2017, has owned Beneficial Ownership of 50 percent or more of the Common Stock, the
    previously-existing Series E Preferred Stock, the previously-existing Series F2A Preferred Stock, or the Series A
    Preferred Stock (determined in accordance with section 382(g)(4)(D) of the IRC and the applicable Treasury
    Regulations thereunder).




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                             approved by a final and non-appealable order of the Court, unless
                             the Debtors withdraw such objection.

                         iii. If the Debtors do not object within such twenty-day period, the filing
                              of the return or amendment with such claim will be permitted solely
                              as described in the Declaration of Intent to Claim a Worthless Stock
                              Deduction. Additional returns and amendments within the scope of
                              this section must be the subject of additional notices as set forth
                              herein, with an additional twenty-day waiting period. To the extent
                              that the Debtors receive an appropriate Declaration of Intent to
                              Claim a Worthless Stock Deduction and determine in their business
                              judgment not to object, they shall provide notice of that decision as
                              soon as is reasonably practicable to any statutory committee(s)
                              appointed in these chapter 11 cases.

                                   NOTICE PROCEDURES

The following notice procedures apply to these Procedures:

             a.      No later than two business days following entry of the Interim Order, the
                     Debtors shall serve a notice by first class mail, substantially in the form
                     attached to the Procedures as Exhibit 1F (the “Notice of Interim Order”),
                     on: (i) the U.S. Trustee for the Southern District of Texas; (ii) the entities
                     listed on the consolidated list of creditors holding the 40 largest unsecured
                     claims; (iii) the U.S. Securities and Exchange Commission; (iv) the Internal
                     Revenue Service; (v) any official committees appointed in these chapter 11
                     cases; (vi) all registered and nominee holders of Common Stock (with
                     instructions to serve down to the beneficial holders of Common Stock, as
                     applicable); and (vii) all registered and nominee holders of Preferred Stock
                     (with instructions to serve down to the beneficial holders of Preferred Stock,
                     as applicable). Additionally, no later than two business days following entry
                     of the Final Order, the Debtors shall serve a Notice of Interim Order modified
                     to reflect that the Final Order has been entered (as modified, the “Notice of
                     Final Order”) on the same entities that received the Notice of Interim Order.

             b.      All registered and nominee holders of Common Stock and Preferred Stock
                     shall be required to serve the Notice of Interim Order or Notice of Final
                     Order, as applicable, on any holder for whose benefit such registered or
                     nominee holder holds such Common Stock or Preferred Stock, down the
                     chain of ownership for all such holders of Common Stock or Preferred Stock.

             c.      Any entity or individual, or broker or agent acting on such entity’s or
                     individual’s behalf who sells Common Stock or Preferred Stock to another
                     entity or individual, shall be required to serve a copy of the Notice of Interim
                     Order or Notice of Final Order, as applicable, on such purchaser of such
                     Common Stock or Preferred Stock, or any broker or agent acting on such
                     purchaser’s behalf.



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      d.    As soon as is practicable following entry of the Interim Order, the Debtors
            shall (i) submit a copy of the Notice of Interim Order (modified for
            publication) for publication in The New York Times (national edition); and
            (ii) submit a copy of the Notice of Interim Order (modified for publication)
            to Bloomberg Professional Service for potential publication by Bloomberg.

      e.    To the extent confidential information is required in any declaration
            described in the Procedures, such confidential information may be filed and
            served in redacted form; provided, however, that any such declarations
            served on the Debtors shall not be in redacted form. The Debtors shall keep
            all information provided in such declarations strictly confidential and shall
            not disclose the contents thereof to any person except: (i) to the extent
            necessary to respond to a petition or objection filed with the Court; (ii) to the
            extent otherwise required by law; or (iii) to the extent that the information
            contained therein is already public; provided, however, that the Debtors may
            disclose the contents thereof to their professional advisors, who shall keep
            all such notices strictly confidential and shall not disclose the contents
            thereof to any other person, subject to further Court order. To the extent
            confidential information is necessary to respond to a petitioner objection
            filed with the Court, such confidential information shall be filed under seal
            or in a redacted form.




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                              EXHIBIT 1A

            Declaration of Status as a Substantial Shareholder
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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    KATERRA INC., et al.,1                                              ) Case No. 21-31861 (DRJ)
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

              DECLARATION OF STATUS AS A SUBSTANTIAL SHAREHOLDER2

             PLEASE TAKE NOTICE that the undersigned party is/has become a Substantial

Shareholder with respect to the existing classes of common stock (any such record or Beneficial

Ownership of common stock, “Common Stock”) or of any existing class or series of preferred

stock (“Preferred Stock”), or of any Beneficial Ownership therein. Katerra Inc. is a debtor and

debtor in possession in Case No. 21-31861 (DRJ) pending in the United States Bankruptcy Court

for the Southern District of Texas (the “Court”).




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least: (i) 658 shares of Common Stock (representing approximately 4.5 percent of issued and
      outstanding shares of Common Stock) or (ii) 4.5 percent of any individual class (or series) of Preferred Stock;
      (ii) “Beneficial Ownership” will be determined in accordance with the applicable rules of sections 382 and 383
      of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as amended (the “IRC”), and the Treasury
      Regulations thereunder (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)), and includes direct,
      indirect, and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all
      equity securities owned by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own
      its proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s
      family members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated
      acquisition of equity securities may be treated as a single entity, and (5) a holder would be considered to
      beneficially own equity securities that such holder has an Option to acquire). An “Option” to acquire stock
      includes all interests described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase
      right, warrant, convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar
      interest, regardless of whether it is contingent or otherwise not currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, as of __________ __, 2021, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock, and _________

shares of Preferred Stock. The following table sets forth the date(s) on which the undersigned

party acquired Beneficial Ownership of such Common Stock and/or Preferred Stock:

      Number of Shares              Type of Stock (Common/                  Date Acquired
                                           Preferred)




                          (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and Preferred Stock [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Notice Parties (as defined in the Order).

       PLEASE TAKE FURTHER NOTICE that, at the election of the Substantial

Shareholder, the Declaration to be filed with this Court (but not the Declaration that is served upon

the Notice Parties) may be redacted to exclude the Substantial Shareholder’s taxpayer




                                                 2
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identification number and the amount of Common Stock or Preferred Stock that the Substantial

Shareholder beneficially owns.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.



                                                     Respectfully submitted,

                                                     (Name of Substantial Shareholder)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

       (City)         (State)




                                                 3
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                              EXHIBIT 1B

   Declaration of Intent to Accumulate Common Stock or Preferred Stock
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                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    KATERRA INC., et al.,1                                              ) Case No. 21-31861 (DRJ)
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

                           DECLARATION OF INTENT TO
                  ACCUMULATE COMMON STOCK OR PREFERRED STOCK2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to purchase, acquire, or otherwise accumulate (the “Proposed Transfer”) one or more

shares of the existing classes of common stock (any such record or Beneficial Ownership of

common stock, “Common Stock”) or of any existing class or series of preferred stock (“Preferred

Stock”), of Katerra Inc. (Cayman), or of any Beneficial Ownership therein. Katerra Inc. (Cayman)

is a debtor and debtor in possession in Case No. 21-31861 (DRJ) pending in the United States

Bankruptcy Court for the Southern District of Texas (the “Court”).


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least: (i) 658 shares of Common Stock (representing approximately 4.5 percent of the issued and
      outstanding shares of Common Stock), or (ii) 4.5 percent of any individual class (or series) of Preferred Stock;
      (ii) “Beneficial Ownership” will be determined in accordance with the applicable rules of sections 382 and 383
      of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as amended (the “IRC”), and the Treasury
      Regulations thereunder (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)), and includes direct,
      indirect, and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all
      equity securities owned by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own
      its proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s
      family members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated
      acquisition of equity securities may be treated as a single entity, and (5) a holder would be considered to
      beneficially own equity securities that such holder has an Option to acquire). An “Option” to acquire stock
      includes all interests described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase
      right, warrant, convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar
      interest, regardless of whether it is contingent or otherwise not currently exercisable.
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         PLEASE TAKE FURTHER NOTICE that, if applicable, on ___________ __, 2021, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

         PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock and _________ shares of Preferred

Stock.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to purchase, acquire, or otherwise accumulate Beneficial Ownership

of _________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock; and _________ shares of Preferred Stock or an Option with respect to _________ shares of

Preferred Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have

Beneficial Ownership of _________ shares of Common Stock and ________ shares of Preferred

Stock.

         PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are ___________.

         PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and Preferred Stock [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Notice Parties (as defined in the Order).

         PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Notice




                                                2
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Parties) may be redacted to exclude the undersigned party’s taxpayer identification number and

the amount of Common Stock or Preferred Stock that the undersigned party beneficially owns.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that it is prohibited from consummating the Proposed Transfer unless and until the

undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors have twenty calendar days after

receipt of this Declaration to object to the Proposed Transfer described herein. If the Debtors file

an objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn

by the Debtors or such transaction is approved by a final and non-appealable order of the Court.

If the Debtors do not object within such twenty-day period, then after expiration of such period

the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party purchasing, acquiring, or otherwise

accumulating Beneficial Ownership of additional shares of Common Stock or Preferred Stock will

each require an additional notice filed with the Court to be served in the same manner as this

Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




                                                 3
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                                          Respectfully submitted,

                                          (Name of Declarant)

                                          By:
                                          ________________________________
                                          Name: _____________________________
                                          Address: ___________________________
                                          ___________________________________
                                          Telephone: _________________________
                                          Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

      (City)       (State)




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                              EXHIBIT 1C

    Declaration of Intent to Transfer Common Stock or Preferred Stock
         Case 21-31861 Document 24-2 Filed in TXSB on 06/07/21 Page 21 of 38




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    KATERRA INC., et al.,1                                              ) Case No. 21-31861 (DRJ)
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

                              DECLARATION OF INTENT TO TRANSFER
                              COMMON STOCK OR PREFERRED STOCK2

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to sell, trade, or otherwise transfer (the “Proposed Transfer”) one or more shares of the

existing classes of common stock (any such record or Beneficial Ownership of common stock,

“Common Stock”) or of any existing class or series of preferred stock (“Preferred Stock”), of

Katerra Inc. (Cayman), or of any Beneficial Ownership therein. Katerra Inc. (Cayman) is a debtor

and debtor in possession in Case No. 21-31861 (DRJ) pending in the United States Bankruptcy

Court for the Southern District of Texas (the “Court”).


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      For purposes of these Procedures: (i) a “Substantial Shareholder” is any entity or individual that has Beneficial
      Ownership of at least: (i) 658 shares of Common Stock (representing approximately 4.5 percent of the issued and
      outstanding shares of Common Stock), or (ii) 4.5 percent of any individual class (or series) of Preferred Stock;
      (ii) “Beneficial Ownership” will be determined in accordance with the applicable rules of sections 382 and 383
      of the Internal Revenue Code of 1986, 26 U.S.C. §§ 1–9834 as amended (the “IRC”), and the Treasury
      Regulations thereunder (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)), and includes direct,
      indirect, and constructive ownership (e.g., (1) a holding company would be considered to beneficially own all
      equity securities owned by its subsidiaries, (2) a partner in a partnership would be considered to beneficially own
      its proportionate share of any equity securities owned by such partnership, (3) an individual and such individual’s
      family members may be treated as one individual, (4) persons and entities acting in concert to make a coordinated
      acquisition of equity securities may be treated as a single entity, and (5) a holder would be considered to
      beneficially own equity securities that such holder has an Option to acquire). An “Option” to acquire stock
      includes all interests described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase
      right, warrant, convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar
      interest, regardless of whether it is contingent or otherwise not currently exercisable.
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         PLEASE TAKE FURTHER NOTICE that, if applicable, on __________ __, 2021, the

undersigned party filed a Declaration of Status as a Substantial Shareholder with the Court and

served copies thereof as set forth therein.

         PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock and _________ shares of Preferred

Stock.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Proposed Transfer, the

undersigned party proposes to sell, trade, or otherwise transfer Beneficial Ownership of

_________ shares of Common Stock or an Option with respect to _________ shares of Common

Stock; and_________ shares of Preferred Stock or an Option with respect to _________ shares of

Preferred Stock. If the Proposed Transfer is permitted to occur, the undersigned party will have

Beneficial Ownership of_________ shares of Common Stock and ________ shares of Preferred

Stock after such transfer becomes effective.

         PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

         PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and Preferred Stock [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Notice Parties (as defined in the Order).

         PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Notice




                                                2
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Parties) may be redacted to exclude the undersigned party’s taxpayer identification number and

the amount of Common Stock or Preferred Stock that the undersigned party beneficially owns.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that it is prohibited from consummating the Proposed Transfer unless and until the

undersigned party complies with the Procedures set forth therein.

       PLEASE TAKE FURTHER NOTICE that the Debtors have twenty calendar days after

receipt of this Declaration to object to the Proposed Transfer described herein. If the Debtors file

an objection, such Proposed Transfer will remain ineffective unless such objection is withdrawn

by the Debtors or such transaction is approved by a final and non-appealable order of the Court.

If the Debtors do not object within such twenty-day period, then after expiration of such period

the Proposed Transfer may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further transactions contemplated by the

undersigned party that may result in the undersigned party selling, trading, or otherwise

transferring Beneficial Ownership of additional shares of Common Stock or Preferred Stock will

each require an additional notice filed with the Court to be served in the same manner as this

Declaration.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




                                                 3
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                                          Respectfully submitted,

                                          (Name of Declarant)

                                          By:
                                          ________________________________
                                          Name: _____________________________
                                          Address: ___________________________
                                          ___________________________________
                                          Telephone: _________________________
                                          Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

      (City)       (State)




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                             EXHIBIT 1D

            Declaration of Status as a 50-Percent Shareholder
         Case 21-31861 Document 24-2 Filed in TXSB on 06/07/21 Page 26 of 38




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    KATERRA INC., et al.,1                                              ) Case No. 21-31861 (DRJ)
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

               DECLARATION OF STATUS AS A 50-PERCENT SHAREHOLDER

             PLEASE TAKE NOTICE that the undersigned party is/has become a 50-Percent

Shareholder2 with respect to one or more shares of the existing classes common stock (any such

record or Beneficial Ownership of common stock, “Common Stock”) or of any existing class or

series of preferred stock (“Preferred Stock”), of Katerra Inc. (Cayman), or of any Beneficial

Ownership therein. Katerra Inc. (Cayman) is a debtor and debtor in possession in Case No. 21-

31861 (DRJ) pending in the United States Bankruptcy Court for the Southern District of Texas

(the “Court”).


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      For purposes of this Declaration: (i) a “50-Percent Shareholder” is any person or entity that at any time since
      December 31, 2017, has owned Beneficial Ownership of 50 percent or more of the Common Stock, the
      previously-existing Series E Preferred Stock, the previously-existing Series F2A Preferred Stock, or the Series A
      Preferred Stock (determined in accordance with section 382(g)(4)(D) of the IRC and the applicable Treasury
      Regulations thereunder); (ii) “Beneficial Ownership” will be determined in accordance with the applicable rules
      of sections 382 and 383 of the Internal Revenue Code (the “IRC”), and the Treasury Regulations thereunder
      (other than Treasury Regulations section 1.382-2T(h)(2)(i)(A)) and includes direct, indirect, and constructive
      ownership (e.g., (1) a holding company would be considered to beneficially own all equity securities owned by
      its subsidiaries, (2) a partner in a partnership would be considered to beneficially own its proportionate share of
      any equity securities owned by such partnership, (3) an individual and such individual’s family members may be
      treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition of equity
      securities may be treated as a single entity, and (5) a holder would be considered to beneficially own equity
      securities that such holder has an Option (as defined herein) to acquire); and (iii) an “Option” to acquire stock
      includes all interests described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase
      right, warrant, convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar
      interest, regardless of whether it is contingent or otherwise not currently exercisable.
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       PLEASE TAKE FURTHER NOTICE that, as of _________ __, 2021, the undersigned

party currently has Beneficial Ownership of _________ shares of Common Stock and _________

shares of Preferred Stock. The following table sets forth the date(s) on which the undersigned

party acquired Beneficial Ownership of such Common Stock and/or Preferred Stock:

      Number of Shares              Type of Stock (Common/                Date Acquired
                                           Preferred)




                              (Attach additional page or pages if necessary)

       PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

       PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final

Order Approving Notification and Hearing Procedures for Certain Transfers of and Declarations

of Worthlessness with Respect to Common Stock and Preferred Stock [Docket No. ___]

(the “Order”), this declaration (this “Declaration”) is being filed with the Court and served upon

the Notice Parties (as defined in the Final Order).

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.




                                                 2
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                                          Respectfully submitted,

                                          (Name of 50-Percent Shareholder)

                                          By:
                                          ________________________________
                                          Name: _____________________________
                                          Address: ___________________________
                                          ___________________________________
                                          Telephone: _________________________
                                          Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

      (City)       (State)




                                      3
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                              EXHIBIT 1E

        Declaration of Intent to Claim a Worthless Stock Deduction
         Case 21-31861 Document 24-2 Filed in TXSB on 06/07/21 Page 30 of 38




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

                                                                        )
    In re:                                                              ) Chapter 11
                                                                        )
    KATERRA INC., et al.,1                                              ) Case No. 21-31861 (DRJ)
                                                                        )
                               Debtors.                                 ) (Joint Administration Requested)
                                                                        )

      DECLARATION OF INTENT TO CLAIM A WORTHLESS2 STOCK DEDUCTION

             PLEASE TAKE NOTICE that the undersigned party hereby provides notice of its

intention to claim a worthless stock deduction (the “Worthless Stock Deduction”) with respect to

one or more shares of the existing classes of common stock (any such record or Beneficial

Ownership of common stock, “Common Stock”) or of any existing class or series of preferred

stock (“Preferred Stock”), of Katerra Inc. (Cayman), or of any Beneficial Ownership therein.

Katerra Inc. (Cayman) is a debtor and debtor in possession in Case No. 21-31861 (DRJ) pending

in the United States Bankruptcy Court for the Southern District of Texas (the “Court”).


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
2
      For purposes of this Declaration: (i) a “50-Percent Shareholder” is any person or entity that at any time since
      December 31, 2017, has owned Beneficial Ownership of 50 percent or more of the Common Stock, the
      previously-existing Series E Preferred Stock, the previously-existing Series F2A Preferred Stock, or the Series A
      Preferred Stock (determined in accordance with section 382(g)(4)(D) of the IRC and the applicable Treasury
      Regulations thereunder); (ii) “Beneficial Ownership” will be determined in accordance with the applicable rules
      of sections 382 and 383 of the Internal Revenue Code (the “IRC”), and the Treasury Regulations thereunder (other
      than Treasury Regulations section 1.382-2T(h)(2)(i)(A)) and includes direct, indirect, and constructive ownership
      (e.g., (1) a holding company would be considered to beneficially own all equity securities owned by its
      subsidiaries, (2) a partner in a partnership would be considered to beneficially own its proportionate share of any
      equity securities owned by such partnership, (3) an individual and such individual’s family members may be
      treated as one individual, (4) persons and entities acting in concert to make a coordinated acquisition of equity
      securities may be treated as a single entity, and (5) a holder would be considered to beneficially own equity
      securities that such holder has an Option (as defined herein) to acquire); and (iii) an “Option” to acquire stock
      includes all interests described in Treasury Regulations section 1.382-4(d)(9), including any contingent purchase
      right, warrant, convertible debt, put, call, stock subject to risk of forfeiture, contract to acquire stock, or similar
      interest, regardless of whether it is contingent or otherwise not currently exercisable.
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         PLEASE TAKE FURTHER NOTICE that, if applicable, on _________ __, 2021, the

undersigned party filed a Declaration of Status as a 50-Percent Shareholder with the Court and

served copies thereof as set forth therein.

         PLEASE TAKE FURTHER NOTICE that the undersigned party currently has

Beneficial Ownership of _________ shares of Common Stock and _________ shares of Preferred

Stock.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Worthless Stock Deduction,

the undersigned party proposes to declare that _________ shares of Common Stock and

_________ shares of Preferred Stock became worthless during the tax year ending __________.

         PLEASE TAKE FURTHER NOTICE that the last four digits of the taxpayer

identification number of the undersigned party are _________.

         PLEASE TAKE FURTHER NOTICE that, pursuant to that certain Final Order

Approving Notification and Hearing Procedures for Certain Transfers of and Declarations of

Worthlessness with Respect to Common Stock and Preferred Stock [Docket No. ___] (the

“Order”), this declaration (this “Declaration”) is being filed with the Court and served upon the

Notice Parties (as defined in the Final Order).

         PLEASE TAKE FURTHER NOTICE that, at the election of the undersigned party, the

Declaration to be filed with this Court (but not the Declaration that is served upon the Notice

Parties) may be redacted to exclude the undersigned party’s taxpayer identification number and

the amount of Common Stock or Preferred Stock that the undersigned party beneficially owns.

         PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, the undersigned party

acknowledges that the Debtors have twenty calendar days after receipt of this Declaration to object

to the Worthless Stock Deduction described herein. If the Debtors file an objection, such




                                                  2
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Worthless Stock Deduction will not be effective unless such objection is withdrawn by the Debtors

or such action is approved by a final and non-appealable order of the Court. If the Debtors do not

object within such twenty-day period, then after expiration of such period the Worthless Stock

Deduction may proceed solely as set forth in this Declaration.

       PLEASE TAKE FURTHER NOTICE that any further claims of worthlessness

contemplated by the undersigned party will each require an additional notice filed with the Court

to be served in the same manner as this Declaration and are subject to an additional twenty-day

waiting period.

       PLEASE TAKE FURTHER NOTICE that, pursuant to 28 U.S.C. § 1746, under

penalties of perjury, the undersigned party hereby declares that he or she has examined this

Declaration and accompanying attachments (if any), and, to the best of his or her knowledge and

belief, this Declaration and any attachments hereto are true, correct, and complete.


                                                     Respectfully submitted,

                                                     (Name of Declarant)

                                                     By:
                                                     ________________________________
                                                     Name: _____________________________
                                                     Address: ___________________________
                                                     ___________________________________
                                                     Telephone: _________________________
                                                     Facsimile: __________________________
Dated: _____________ __, 20__
_______________, __________

       (City)         (State)




                                                 3
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                            EXHIBIT 1F

                        Notice of Final Order
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

                                                                      )
    In re:                                                            ) Chapter 11
                                                                      )
    KATERRA INC., et al.,1                                            ) Case No. 21-31861 (DRJ)
                                                                      )
                              Debtors.                                ) (Joint Administration Requested)
                                                                      )

  NOTICE OF FINAL ORDER (I) APPROVING NOTIFICATION AND HEARING
PROCEDURES FOR CERTAIN TRANSFERS OF AND DECLARATIONS OF WORTH
WORTHLESSNESS WITH RESPECT TO COMMON STOCK, AND (II) SCHEDULING
          A FINAL HEARING ON THE APPLICATION THEREOF


TO: ALL ENTITIES (AS DEFINED BY SECTION 101(15) OF THE BANKRUPTCY
CODE) THAT MAY HOLD BENEFICIAL OWNERSHIP OF THE EXISTING CLASSES
OF COMMON STOCK (THE “COMMON STOCK”) OR ANY EXISTING CLASS (OR
SERIES) OF PREFERRED STOCK (THE “PREFERRED STOCK”), OF KATERRA INC.
(CAYMAN):

             PLEASE TAKE NOTICE that on                          June 6, 2021 (the “Petition Date”), the

above-captioned debtors and debtors in possession (collectively, the “Debtors”), filed petitions

with the United States Bankruptcy Court for the Southern District of Texas (the “Court”) under

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”). Subject to certain

exceptions, section 362 of the Bankruptcy Code operates as a stay of any act to obtain possession

of property of or from the Debtors’ estates or to exercise control over property of or from the

Debtors’ estates.

             PLEASE TAKE FURTHER NOTICE that on the Petition Date, the Debtors filed the

Debtors’ Emergency Motion for Entry of Interim and Final Orders Approving Notification and


1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://cases.primeclerk.com/katerra. The location of Debtor Katerra Inc.’s
      principal place of business and the Debtors’ service address in these chapter 11 cases is 9305 East Via de Ventura,
      Scottsdale, Arizona 85258.
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Hearing Procedures for Certain Transfers of and Declarations of Worthlessness with Respect to

Common Stock and Preferred Stock [Docket No. __] (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that on [______], 2021, the Court entered the

Final Order Approving Notification and Hearing Procedures for Certain Transfers of and

Declarations of Worthlessness with Respect to Common Stock and Preferred Stock [Docket

No. __] (the “Final Order”) approving procedures for certain transfers of and declarations of

worthlessness with respect to Common Stock and Preferred Stock, set forth in Exhibit 1 attached

to the Final Order (the “Procedures”).2

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, a Substantial

Shareholder may not consummate any purchase, sale, or other transfer of Common Stock or

Preferred Stock or Beneficial Ownership of Common Stock or Preferred Stock in violation of the

Procedures, and any such transaction in violation of the Procedures shall be null and void ab initio.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, the Procedures

shall apply to the holding and transfers of Common Stock or Preferred Stock or any Beneficial

Ownership therein by a Substantial Shareholder or someone who may become a Substantial

Shareholder.

        PLEASE TAKE FURTHER NOTICE that pursuant to the Final Order, a 50-Percent

Shareholder may not claim a worthless stock deduction with respect to Common Stock or Preferred

Stock, or Beneficial Ownership of Common Stock or Preferred Stock, in violation of the

Procedures, and any such deduction in violation of the Procedures shall be null and void ab initio,




2
    Capitalized terms used but not otherwise defined herein have the meanings given to them in the Order or the
    Motion, as applicable.




                                                      2
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and the 50-Percent Shareholder shall be required to file an amended tax return revoking such

proposed deduction.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, as soon as is

practicable following entry of the Final Order, the Debtors shall (i) submit a copy of the Notice of

Final Order (modified for publication) for publication in The New York Times (national edition);

(ii) submit a copy of the Notice of Final Order (modified for publication) to Bloomberg

Professional Service for potential publication by Bloomberg.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, upon the request

of any entity, the proposed notice, claims, and solicitation agent for the Debtors, Prime Clerk LLC,

will provide a copy of the Final Order and a form of each of the declarations required to be filed

by the Procedures in a reasonable period of time. Such declarations are also available via PACER

on the Court’s website at https://ecf.txsb.uscourts.gov for a fee, or free of charge by accessing the

Debtors’ restructuring website at https://cases.primeclerk.com/katerra.

       PLEASE TAKE FURTHER NOTICE that, pursuant to the Final Order, failure to follow

the procedures set forth in the Final Order shall constitute a violation of, among other things, the

automatic stay provisions of section 362 of the Bankruptcy Code.

       PLEASE TAKE FURTHER NOTICE that nothing in the Final Order shall preclude any

person desirous of acquiring any Common Stock or Preferred Stock from requesting relief from

the Order from this Court, subject to the Debtors’ rights to oppose such relief.

       PLEASE TAKE FURTHER NOTICE that other than to the extent that the Final Order

expressly conditions or restricts trading in Common Stock or Preferred Stock, nothing in the Final

Order or in the Motion shall, or shall be deemed to, prejudice, impair, or otherwise alter or affect




                                                 3
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the rights of any holders of Common Stock or Preferred Stock, including in connection with the

treatment of any such stock under any chapter 11 plan or any applicable bankruptcy court order.

       PLEASE TAKE FURTHER NOTICE that any prohibited purchase, sale, other transfer

of, or declaration of worthlessness with respect to Common Stock or Preferred Stock, beneficial

ownership thereof, or option with respect thereto in violation of the Final Order is prohibited and

shall be null and void ab initio and may be subject to additional sanctions as this court may

determine.

       PLEASE TAKE FURTHER NOTICE that the requirements set forth in the Final Order

are in addition to the requirements of applicable law and do not excuse compliance therewith.




                                                4
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Houston, Texas
June 7, 2021

/s/ Matthew D. Cavenaugh
JACKSON WALKER LLP                           KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)   KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)      Joshua A. Sussberg, P.C. (pro hac vice pending)
J. Machir Stull (TX Bar No. 24070697)        Christine A. Okike, P.C. (pro hac vice pending)
1401 McKinney Street, Suite 1900             601 Lexington Avenue
Houston, Texas 77010                         New York, New York 10022
Telephone: (713) 752-4200                    Telephone:      (212) 446-4800
Facsimile: (713) 752-4221                    Facsimile:    (212) 446-4900
Email:       mcavenaugh@jw.com               Email:        joshua.sussberg@kirkland.com
             jwertz@jw.com                                 christine.okike@kirkland.com
             mstull@jw.com

Proposed Co-Counsel to the Debtors           Proposed Co-Counsel to the Debtors
and Debtors in Possession                    and Debtors in Possession
